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                       EXHIBIT 1
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       Generated on: This page was generated by TSDR on 2025-06-20 14:07:24 EDT
                 Mark: IN-N-OUT




  US Serial Number: 73133175                                                        Application Filing Jul. 07, 1977
                                                                                                Date:
     US Registration 1085163                                                       Registration Date: Feb. 07, 1978
           Number:
             Register: Principal
           Mark Type: Service Mark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Dec. 06, 2017



                                                                   Mark Information
          Mark Literal IN-N-OUT
           Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 1 - TYPESET WORD(S) /LETTER(S) /NUMBER(S)
              Type:

                                                      Related Properties Information
 Claimed Ownership 1031095, 1031096, 1023506
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: RESTAURANT SERVICES AND CARRY-OUT RESTAURANT SERVICES
         International 042 - Primary Class                                              U.S Class(es): 100
            Class(es):
        Class Status: ACTIVE
            First Use: 1949                                                        Use in Commerce: 1949

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                              Currently 44D: No
            Filed 44E: No                                                               Currently 44E: No
            Filed 66A: No                                                              Currently 66A: No
      Filed No Basis: No                                                          Currently No Basis: No

                                                       Current Owner(s) Information
                Case 8:25-cv-01335           Document 1-1           Filed 06/20/25            Page 3 of 17 Page ID #:24


          Owner Name: IN-N-OUT BURGERS
     Owner Address: 4199 CAMPUS DRIVE, SUITE 900
                    IRVINE, CALIFORNIA UNITED STATES 92612
   Legal Entity Type: CORPORATION                                       State or Country CALIFORNIA
                                                                       Where Organized:

                                       Attorney/Correspondence Information
                                                               Attorney of Record
      Attorney Name: ARNOLD M WENSINGER
    Attorney Primary vsarigumba@innout.com                               Attorney Email Yes
     Email Address:                                                         Authorized:
                                                                  Correspondent
      Correspondent ARNOLD M WENSINGER
      Name/Address: IN-N-OUT BURGERS
                    4199 CAMPUS DR STE 900
                    IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: 9495096289
   Correspondent e- vsarigumba@innout.com rblake@innout.com            Correspondent e- Yes
              mail:                                                     mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                                      Proceeding
   Date              Description
                                                                                                                      Number
Apr. 04, 2018     NOTICE OF SUIT
Mar. 05, 2018     NOTICE OF SUIT
Dec. 06, 2017     NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Dec. 06, 2017     REGISTERED AND RENEWED (THIRD RENEWAL - 10 YRS)
Dec. 06, 2017     REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Dec. 05, 2017     TEAS SECTION 8 & 9 RECEIVED
Mar. 16, 2017     NOTICE OF SUIT
Mar. 16, 2017     NOTICE OF SUIT
Feb. 16, 2017     NOTICE OF SUIT
Feb. 16, 2017     NOTICE OF SUIT
Sep. 19, 2012     NOTICE OF SUIT
Jun. 21, 2010     NOTICE OF SUIT
Jul. 01, 2008     NOTICE OF SUIT
Jun. 25, 2008     NOTICE OF SUIT
Jun. 16, 2008     NOTICE OF SUIT
Jun. 02, 2008     NOTICE OF SUIT
May 20, 2008      NOTICE OF SUIT
Dec. 04, 2007     CASE FILE IN TICRS
Jun. 10, 2007     REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Jun. 10, 2007     REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
May 23, 2007      ASSIGNED TO PARALEGAL
Apr. 23, 2007     REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Apr. 23, 2007     PAPER RECEIVED
Oct. 30, 1997     REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Sep. 25, 1997     REGISTERED - SEC. 9 FILED/CHECK RECORD FOR SEC. 8
Sep. 25, 1997     REGISTERED - SEC. 9 FILED/CHECK RECORD FOR SEC. 8
Nov. 01, 1983     REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.

                                          TM Staff and Location Information
                                                           TM Staff Information - None
                                                                  File Location
              Case 8:25-cv-01335             Document 1-1          Filed 06/20/25             Page 4 of 17 Page ID #:25


    Current Location: GENERIC WEB UPDATE                              Date in Location: Dec. 06, 2017

                                                             Proceedings
    Summary
          Number of 13
        Proceedings:

                                                 Type of Proceeding: Opposition

            Proceeding 91252096                                              Filing Date: Nov 06, 2019
              Number:
               Status: Terminated                                           Status Date: Feb 26, 2020
           Interlocutory MIKE WEBSTER
               Attorney:
                                                                  Defendant
                Name: WinIT proposals, LLC
      Correspondent SHERRI E BIANCO
           Address: 11314 KINGS VALLEY DRIVE
                    DAMASCUS MD UNITED STATES , 20872
    Correspondent e- winit.proposals@gmail.com
               mail:
Associated marks
                                                                                                                             Registration
    Mark                                                                          Application Status       Serial Number
                                                                                                                             Number
IN & OUT GRAPHIX                                                                                         88333837
                                                                  Plaintiff(s)
                Name: In-N-Out Burgers
      Correspondent VALERIE SARIGUMBA
           Address: 4199 CAMPUS DRIVE 9TH FLOOR
                    IRVINE CA UNITED STATES , 92612
    Correspondent e- vsarigumba@innout.com
               mail:
Associated marks
                                                                                                                             Registration
    Mark                                                                          Application Status       Serial Number
                                                                                                                             Number
IN-N-OUT                                                                                                 75137201          2285823
IN-N-OUT                                                                                                 73133175          1085163
IN-N-OUT                                                                                                 73133174          1101638
IN-N-OUT                                                                                                 73133176          1101628
IN-N-OUT                                                                                                 75396996          2217307
IN-N-OUT                                                                                                 73738305          1522799
IN-N-OUT                                                                                                 73738306          1525982
IN-N-OUTBURGER                                                                                           75158254          2285842
                                                              Prosecution History
    Entry Number           History Text                                                                    Date              Due Date
7                       TERMINATED                                                                       Feb 26, 2020
6                       BD DECISION: OPP SUSTAINED                                                       Feb 26, 2020
5                       W/DRAW OF APPLICATION W/O CONSENT                                                Feb 17, 2020
4                       ANSWER                                                                           Nov 24, 2019
3                       INSTITUTED                                                                       Nov 06, 2019
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                         Nov 06, 2019      Dec 16, 2019
1                       FILED AND FEE                                                                    Nov 06, 2019

                                                        Type of Proceeding: Opposition

            Proceeding 91217195                                              Filing Date: May 30, 2014
              Number:
               Status: Terminated                                           Status Date: Sep 23, 2014
              Case 8:25-cv-01335              Document 1-1            Filed 06/20/25             Page 5 of 17 Page ID #:26

           Interlocutory ROBERT COGGINS
               Attorney:
                                                                     Defendant
                Name: IN-N-OUT Grooming
      Correspondent IN-N-OUT GROOMING
           Address: 7300 BROMPTON ST , APT 4723
                    HOUSTON TX UNITED STATES , 77025-2166
    Correspondent e- Josh.Mica@gmail.com
               mail:
Associated marks
                                                                                                                                 Registration
    Mark                                                                             Application Status        Serial Number
                                                                                                                                 Number
IN-N-OUT GROOMING                                                                                           85934540
                                                                     Plaintiff(s)
                Name: In-N-Out Burgers
      Correspondent VALERIE SARIGUMBA
           Address: IN-N-OUT BURGERS
                    4199 CAMPUS DR, 9TH FLOOR
                    IRVINE CA UNITED STATES , 92612
    Correspondent e- vsarigumba@innout.com , rblake@innout.com
               mail:
Associated marks
                                                                                                                                 Registration
    Mark                                                                             Application Status        Serial Number
                                                                                                                                 Number
IN-N-OUT                                                                                                    73133175           1085163
IN-N-OUT                                                                                                    73738305           1522799
IN-N-OUT                                                                                                    73738306           1525982
IN-N-OUT                                                                                                    73133176           1101628
IN-N-OUT                                                                                                    73133174           1101638
IN-N-OUT                                                                                                    75396996           2217307
IN-N-OUT BURGER                                                                                             73724456           1514689
IN-N-OUT BURGER                                                                                             74622923           1960015
                                                                 Prosecution History
    Entry Number           History Text                                                                        Date              Due Date
7                       TERMINATED                                                                          Sep 23, 2014
6                       BD DECISION: DISMISSED W/O PREJ                                                     Sep 23, 2014
5                       W/DRAW OF OPPOSITION                                                                Sep 02, 2014
4                       W/DRAW OF APPLICATION                                                               Aug 25, 2014
3                       PENDING, INSTITUTED                                                                 Jul 04, 2014
2                       NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                            Jul 04, 2014       Aug 13, 2014
1                       FILED AND FEE                                                                       May 30, 2014

                                                         Type of Proceeding: Opposition

            Proceeding 91206796                                                 Filing Date: Aug 30, 2012
              Number:
               Status: Terminated                                              Status Date: Mar 01, 2014
           Interlocutory YONG OH (RICHARD) KIM
               Attorney:
                                                                     Defendant
                Name: Ryan Markus
      Correspondent JEFFREY M FURR
           Address: FURR LAW FIRM
                    2622 DEBOLT ROAD
                    UTICA OH UNITED STATES , 43080 9604
    Correspondent e- JeffMFurr@FurrLawFirm.com , jeffmfurr@aol.com
               mail:
Associated marks
                                                                                                                                 Registration
               Case 8:25-cv-01335              Document 1-1           Filed 06/20/25             Page 6 of 17 Page ID #:27

     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN AND OUT                                                                                                  85507551
                                                                     Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent VALERIE SARIGUMBA
            Address: IN N OUT BURGERS
                     4199 CAMPUS DRIVE, 9TH FLOOR
                     IRVINE CA UNITED STATES , 92612
     Correspondent e- bob@lauson.com , vsarigumba@innout.com , rblake@innout.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    73133175          1085163
IN 'N' OUT                                                                                                  72389754          930203
IN-N-OUT                                                                                                    75396996          2217307
IN-N-OUT                                                                                                    75137201          2285823
                                                                Prosecution History
     Entry Number           History Text                                                                      Date              Due Date
18                       TERMINATED                                                                         Mar 01, 2014
17                       BD DECISION: DISMISSED W/O PREJ                                                    Mar 01, 2014
16                       W/DRAW OF OPPOSITION                                                               Feb 14, 2014
15                       W/DRAW OF APPLICATION                                                              Feb 13, 2014
14                       TRIAL DATES RESET                                                                  Jan 30, 2014
13                       STIP FOR EXT                                                                       Jan 09, 2014
12                       SUSPENDED                                                                          Dec 18, 2013
11                       STIP FOR EXT                                                                       Nov 11, 2013
10                       SUSPENDED                                                                          Sep 17, 2013
9                        P MOT TO SUSP W/ CONSENT PEND SETTL NEGOTIATIONS                                   Aug 14, 2013
8                        CONSOLIDATED - PARENT/TRIAL DATES RESET                                            Apr 23, 2013
7                        STIPULATION FOR AN EXTENSION OF TIME                                               Feb 04, 2013
6                        APPEARANCE                                                                         Oct 12, 2012
5                        D'S MOTION TO CONSOLIDATE                                                          Oct 08, 2012
4                        ANSWER                                                                             Oct 08, 2012
3                        PENDING, INSTITUTED                                                                Aug 30, 2012
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                           Aug 30, 2012      Oct 09, 2012
1                        FILED AND FEE                                                                      Aug 30, 2012

                                                         Type of Proceeding: Opposition

             Proceeding 91206797                                                Filing Date: Aug 30, 2012
               Number:
                Status: Terminated                                             Status Date: Mar 01, 2014
            Interlocutory YONG OH (RICHARD) KIM
                Attorney:
                                                                     Defendant
                 Name: Markus, Ryan
       Correspondent JEFFREY M FURR
            Address: FURR LAW FIRM
                     2622 DEBOLT RD
                     UTICA OH UNITED STATES , 43080-9604
     Correspondent e- JeffMFurr@FurrLawFirm.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN N OUT                                                                                                    85511776
                                                                     Plaintiff(s)
               Case 8:25-cv-01335                 Document 1-1           Filed 06/20/25             Page 7 of 17 Page ID #:28


                 Name: In-N-Out Burgers
       Correspondent VALERIE SARIGUEMBA
            Address: IN-N-OUT BURGERS
                     4199 CAMPUS DRIVE, 9TH FLOOR
                     IRVINE CA UNITED STATES , 92612
     Correspondent e- vsarigumba@innout.com , rblake@innout.com
                mail:
Associated marks
                                                                                                                                   Registration
     Mark                                                                               Application Status       Serial Number
                                                                                                                                   Number
IN-N-OUT                                                                                                       73133175          1085163
IN 'N' OUT                                                                                                     72389754          930203
IN-N-OUT                                                                                                       75396996          2217307
IN-N-OUT                                                                                                       75137201          2285823
                                                                    Prosecution History
     Entry Number            History Text                                                                        Date              Due Date
10                        TERMINATED                                                                           Mar 01, 2014
9                         BD DECISION: DISMISSED W/O PREJ                                                      Mar 01, 2014
8                         CONSOLIDATED - CHILD OF 91206797                                                     Apr 23, 2013
7                         STIPULATION FOR AN EXTENSION OF TIME                                                 Feb 04, 2013
6                         APPEARANCE                                                                           Oct 12, 2012
5                         D'S MOTION TO CONSOLIDATE                                                            Oct 08, 2012
4                         ANSWER                                                                               Oct 08, 2012
3                         PENDING, INSTITUTED                                                                  Aug 30, 2012
2                         NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                             Aug 30, 2012      Oct 09, 2012
1                         FILED AND FEE                                                                        Aug 30, 2012

                                                              Type of Proceeding: Opposition

             Proceeding 91196649                                                   Filing Date: Sep 28, 2010
               Number:
                 Status: Terminated                                               Status Date: Sep 21, 2011
            Interlocutory MICHAEL B ADLIN
                Attorney:
                                                                        Defendant
                 Name: Cambrela, Inc.
       Correspondent MICHAEL FEDRICK
            Address: LOZA LOZA LLP
                     305 N 2ND AVE 127
                     UPLAND CA UNITED STATES , 91786 6064
     Correspondent e- mike@lozaip.com
                mail:
Associated marks
                                                                                                                                   Registration
     Mark                                                                               Application Status       Serial Number
                                                                                                                                   Number
IN AND OUT TRAFFIC SCHOOL                                                                                      77857320
                                                                        Plaintiff(s)
                 Name: In-N-Out Burgers, a California Corporation
       Correspondent ROBERT J LAUSON
            Address: LAUSON TARVER LLP
                     880 APOLLO STREET , SUITE 301
                     EL SEGUNDO CA UNITED STATES , 90245
     Correspondent e- bob@lauson.com
                mail:
Associated marks
                                                                                                                                   Registration
     Mark                                                                               Application Status       Serial Number
                                                                                                                                   Number
IN-N-OUT                                                                                                       73133175          1085163
IN-N-OUT BURGER                                                                                                75559057          2291183
               Case 8:25-cv-01335                 Document 1-1       Filed 06/20/25             Page 8 of 17 Page ID #:29

IN & OUT                                                                                                   74323081           1780587
IN 'N' OUT                                                                                                 72389754           930203
IN-N-OUT                                                                                                   75396996           2217307
IN-N-OUT                                                                                                   75137201           2285823
IN-N-OUT BURGER FOUNDATION                                                                                 75061338           2035491
                                                                Prosecution History
     Entry Number            History Text                                                                     Date              Due Date
18                        TERMINATED                                                                       Sep 21, 2011
17                        BD'S DECISION: DISMISSED W/O PREJUDICE                                           Sep 21, 2011
16                        STIP DISMISSAL WO PREJUDICE                                                      Sep 20, 2011
15                        SUSPENDED                                                                        Jul 08, 2011
14                        STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                                          Jul 08, 2011
13                        RESPONSE DUE 30 DAYS (DUE DATE)                                                  May 10, 2011       Jun 09, 2011
12                        EXTENSION OF TIME GRANTED                                                        Apr 14, 2011
11                        STIPULATION FOR AN EXTENSION OF TIME                                             Apr 14, 2011
10                        P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                                    Mar 23, 2011
9                         CHANGE OF CORRESPONDENCE ADDRESS                                                 Mar 11, 2011
8                         EXTENSION OF TIME GRANTED                                                        Feb 11, 2011
7                         D'S MOTION FOR AN EXTENSION OF TIME                                              Feb 07, 2011
6                         CORRECTION TO BOARD`S ORDER                                                      Nov 18, 2010
5                         ANSWER                                                                           Nov 05, 2010
4                         OPP'S MOTION TO CORRECT OPP'S NAME                                               Oct 22, 2010
3                         PENDING, INSTITUTED                                                              Sep 28, 2010
2                         NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                         Sep 28, 2010       Nov 07, 2010
1                         FILED AND FEE                                                                    Sep 28, 2010

                                                        Type of Proceeding: Opposition

             Proceeding 91196420                                               Filing Date: Sep 09, 2010
               Number:
                 Status: Terminated                                           Status Date: Dec 15, 2010
            Interlocutory MICHAEL B ADLIN
                Attorney:
                                                                    Defendant
                 Name: Medidenta International, Inc.
       Correspondent OLIVER R CHERNIN
            Address: MCLAUGHLIN & STERN LLP
                     260 MADISON AVENUE
                     NEW YORK NY UNITED STATES , 10016
     Correspondent e- ochernin@mclaughlinstern.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN N OUT HANDPIECE REPAIR SERVICE                                                                          77962708
                                                                    Plaintiff(s)
                 Name: In-N-Out Burger, Inc.
       Correspondent EDWIN TARVER
            Address: LAUSON & TARVER LLP
                     880 APOLLO STREET , SUITE 301
                     EL SEGUNDO CA UNITED STATES , 90245
     Correspondent e- Bob@lauson.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                   73133175           1085163
                                                                Prosecution History
               Case 8:25-cv-01335              Document 1-1          Filed 06/20/25             Page 9 of 17 Page ID #:30

     Entry Number           History Text                                                                     Date              Due Date
15                       TERMINATED                                                                        Dec 15, 2010
14                       BD'S DECISION: DISMISSED W/ PREJUDICE                                             Dec 15, 2010
13                       WITHDRAWAL OF OPPOSITION                                                          Dec 09, 2010
12                       RESPONSE DUE 30 DAYS (DUE DATE)                                                   Dec 08, 2010      Jan 07, 2011
11                       MOTION TO AMEND APPLICATION                                                       Nov 22, 2010
10                       MOTION TO AMEND APPLICATION                                                       Nov 22, 2010
9                        SUSPENDED                                                                         Nov 18, 2010
8                        STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                                           Nov 18, 2010
7                        EXTENSION OF TIME GRANTED                                                         Oct 27, 2010
6                        STIPULATION FOR AN EXTENSION OF TIME                                              Oct 15, 2010
5                        CHANGE OF CORRESPONDENCE ADDRESS                                                  Sep 22, 2010
4                        D'S APPEARANCE OF COUNSEL/POWER OF ATTORNEY                                       Sep 22, 2010
3                        PENDING, INSTITUTED                                                               Sep 09, 2010
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          Sep 09, 2010      Oct 19, 2010
1                        FILED AND FEE                                                                     Sep 09, 2010

                                                        Type of Proceeding: Opposition

             Proceeding 91188062                                               Filing Date: Dec 17, 2008
               Number:
                Status: Terminated                                            Status Date: Mar 23, 2009
            Interlocutory ANGELA LYKOS
                Attorney:
                                                                    Defendant
                 Name: GREAT BUYS, INC.
       Correspondent GREGG ZEGARELLI
            Address: ZEGARELLI LAW GROUP
                     429 FORBES AVE STE 1212
                     PITTSBURGH PA UNITED STATES , 15219-1625
     Correspondent e- mailroom.grz@zegarelli.com
                mail:
Associated marks
                                                                                                                               Registration
     Mark                                                                           Application Status       Serial Number
                                                                                                                               Number
INOUT DEALS                                                                                                77475624
                                                                    Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Margaret Niver McGann
            Address: Parsons Behle & Latimer
                     201 South Main Street, Suite 1800
                     Salt Lake City UT UNITED STATES , 84111
     Correspondent e- mmcgann@parsonsbehle.com , cjohns@parsonsbehle.com , jwhite@parsonsbehle.com
                mail:
Associated marks
                                                                                                                               Registration
     Mark                                                                           Application Status       Serial Number
                                                                                                                               Number
IN-N-OUT                                                                                                   73133176          1101628
IN-N-OUT                                                                                                   73133175          1085163
IN-N-OUT                                                                                                   73133174          1101638
IN-N-OUT                                                                                                   75396996          2217307
IN-N-OUT                                                                                                   75137201          2285823
IN 'N' OUT                                                                                                 72389754          930203
IN-N-OUT BURGER                                                                                            74622923          1960015
                                                               Prosecution History
     Entry Number           History Text                                                                     Date              Due Date
7                        TERMINATED                                                                        Mar 23, 2009
6                        BOARD'S DECISION: SUSTAINED                                                       Mar 23, 2009
              Case 8:25-cv-01335                Document 1-1             Filed 06/20/25             Page 10 of 17 Page ID #:31

5                        ABANDONMENT                                                                            Mar 20, 2009
4                        ANSWER                                                                                 Jan 14, 2009
3                        PENDING, INSTITUTED                                                                    Dec 17, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                               Dec 17, 2008       Jan 26, 2009
1                        FILED AND FEE                                                                          Dec 17, 2008

                                                            Type of Proceeding: Opposition

             Proceeding 91186958                                                    Filing Date: Oct 14, 2008
               Number:
                Status: Terminated                                                 Status Date: Sep 16, 2009
            Interlocutory CHERYL S GOODMAN
                Attorney:
                                                                         Defendant
                 Name: Obadia Alain
       Correspondent Leonard Budow
            Address: Leonard N Budow PC
                     Ste 4613 350 5th Avenue
                     New York NY UNITED STATES , 10118-4613
     Correspondent e- lb@budowlaw.us
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                Application Status        Serial Number
                                                                                                                                     Number
IN & OUT                                                                                                        77283492
                                                                         Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Ariana Gallisa
            Address: Pillsbury Winthrop Shaw Pittman LLP
                     P.O. Box 7780, Calendar/Docketing Dept.
                     San Francisco CA UNITED STATES , 94120-7880
     Correspondent e- sftrademarks@pillsburylaw.com , ariana.gallisa@pillsburylaw.com
                mail:
Associated marks
                                                                                                                                     Registration
     Mark                                                                                Application Status        Serial Number
                                                                                                                                     Number
IN-N-OUT                                                                                                        73133175           1085163
IN-N-OUT                                                                                                        73133176           1101628
IN-N-OUT                                                                                                        73133174           1101638
IN-N-OUT                                                                                                        73738305           1522799
IN-N-OUT                                                                                                        73738306           1525982
IN-N-OUT                                                                                                        75396996           2217307
IN-N-OUT                                                                                                        75137201           2285823
IN 'N' OUT                                                                                                      72389754           930203
ENTRADA-Y-SALIDA                                                                                                74599705           2048138
                                                                    Prosecution History
     Entry Number           History Text                                                                           Date              Due Date
13                       TERMINATED                                                                             Sep 16, 2009
12                       BOARD'S DECISION: SUSTAINED                                                            Sep 16, 2009
11                       WITHDRAWAL OF APPLICATION                                                              Sep 15, 2009
10                       CHANGE OF CORRESPONDENCE ADDRESS                                                       Aug 21, 2009
9                        APPEARANCE                                                                             Aug 21, 2009
8                        SUSPENDED                                                                              Jul 07, 2009
7                        STIP TO SUSPEND PEND SETTLEMENT NEGOTNS                                                Jul 07, 2009
6                        ANSWER                                                                                 Jan 20, 2009
5                        EXTENSION OF TIME GRANTED                                                              Oct 24, 2008
4                        STIPULATION FOR AN EXTENSION OF TIME                                                   Oct 24, 2008
3                        PENDING, INSTITUTED                                                                    Oct 14, 2008
              Case 8:25-cv-01335               Document 1-1         Filed 06/20/25             Page 11 of 17 Page ID #:32

2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          Oct 14, 2008      Nov 23, 2008
1                        FILED AND FEE                                                                     Oct 14, 2008

                                                          Type of Proceeding: Opposition

             Proceeding 91186018                                               Filing Date: Aug 16, 2008
               Number:
                Status: Terminated                                            Status Date: May 28, 2009
            Interlocutory MARY CATHERINE FAINT
                Attorney:
                                                                    Defendant
                 Name: Brian Quaglia and Sandra Quaglia
       Correspondent Brian Quaglia
            Address: 77 Peck Street
                     Rehoboth MA UNITED STATES , 02886
Associated marks
                                                                                                                               Registration
     Mark                                                                           Application Status       Serial Number
                                                                                                                               Number
IN & OUT                                                                                                   76687302
                                                                    Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Edward O. Ansell
            Address: Law Office of Edward O. Ansell
                     427 N. Yale Avenue, Suite 204
                     Claremont CA UNITED STATES , 91711
     Correspondent e- anselaw@verizon.net
                mail:
Associated marks
                                                                                                                               Registration
     Mark                                                                           Application Status       Serial Number
                                                                                                                               Number
IN-N-OUT                                                                                                   75137201          2285823
IN-N-OUT BURGER                                                                                            73724456          1514689
IN-N-OUT BURGER                                                                                            74622923          1960015
IN-N-OUT                                                                                                   73133175          1085163
IN-N-OUT                                                                                                   73738305          1522799
IN-N-OUT                                                                                                   73738306          1525982
IN-N-OUT                                                                                                   73133176          1101628
IN-N-OUT                                                                                                   73133174          1101638
IN-N-OUT                                                                                                   75396996          2217307
                                                                Prosecution History
     Entry Number           History Text                                                                     Date              Due Date
18                       TERMINATED                                                                        May 28, 2009
17                       BOARD'S DECISION: SUSTAINED                                                       May 28, 2009
16                       COPY #15                                                                          May 26, 2009
15                       WITHDRAWAL OF APPLICATION                                                         May 21, 2009
14                       SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                           May 05, 2009
13                       P'S MOTION FOR SUMMARY JUDGMENT                                                   Apr 28, 2009
12                       D'S UNDELIVERABLE MAIL                                                            Apr 13, 2009
11                       P'S RESPONSE TO BOARD ORDER/INQUIRY                                               Apr 09, 2009
10                       TRIAL DATES SET                                                                   Apr 03, 2009
9                        COPY #8 W/CERTIFICATE OF SERVICE                                                  Apr 01, 2009
8                        P'S MOTION TO JOIN INDISPENSIBLE PARTY                                            Mar 30, 2009
7                        TRIAL DATES RESET                                                                 Mar 13, 2009
6                        SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                           Oct 10, 2008
5                        P'S OPPOSITION/RESPONSE TO MOTION                                                 Sep 26, 2008
4                        ANSWER                                                                            Sep 15, 2008
3                        PENDING, INSTITUTED                                                               Aug 26, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          Aug 26, 2008      Oct 05, 2008
              Case 8:25-cv-01335               Document 1-1          Filed 06/20/25             Page 12 of 17 Page ID #:33


1                        FILED AND FEE                                                                      Aug 16, 2008

                                                           Type of Proceeding: Opposition

             Proceeding 91183888                                                Filing Date: May 05, 2008
               Number:
                Status: Terminated                                             Status Date: Jun 13, 2013
            Interlocutory ANN LINNEHAN VOGLER
                Attorney:
                                                                     Defendant
                 Name: Fast Lane Car Wash & Lube, L.L.C.
       Correspondent RICHARD L SCHNAKE
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                     PO BOX 10327
                     SPRINGFIELD MO UNITED STATES , 65808-0327
     Correspondent e- DWooten@nnlaw.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN & OUT CAR WASH                                                                                           77234104
                                                                     Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent ROBERT J LAUSON
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                     EL SEGUNDO CA UNITED STATES , 90245
     Correspondent e- bob@lauson.com , edwin@lauson.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                            Application Status       Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                    73133175          1085163
IN-N-OUT                                                                                                    73738305          1522799
IN-N-OUT                                                                                                    73738306          1525982
IN-N-OUT                                                                                                    73133176          1101628
IN-N-OUT                                                                                                    73133174          1101638
IN-N-OUT                                                                                                    75396996          2217307
IN-N-OUT BURGER                                                                                             73724456          1514689
IN-N-OUT BURGER                                                                                             74622923          1960015
IN-N-OUT BURGER                                                                                             76669013          3367471
                                                                 Prosecution History
     Entry Number           History Text                                                                      Date              Due Date
84                       TERMINATED                                                                         Jun 13, 2013
83                       BD DECISION: DISMISSED                                                             Mar 14, 2013
82                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
81                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
80                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
79                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
78                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS                                            Nov 07, 2011
77                       DEFENDANT'S NOTICE OF RELIANCE EXHIBITS 862-879                                    Nov 07, 2011
76                       SUBMITTED ON BRIEF                                                                 Apr 11, 2012
75                       PLAINTIFF'S NOTICE OF RELIANCE                                                     Apr 04, 2012
74                       P'S REBUTTAL BRIEF                                                                 Apr 02, 2012
73                       FINAL BRIEF ON MERITS FOR DEFENDANT(S)                                             Mar 16, 2012
72                       BRIEF ON MERITS FOR PLAINTIFF                                                      Feb 14, 2012
71                       P'S NOTICE OF TAKING TESTIMONY                                                     Feb 07, 2012
70                       PLAINTIFF'S NOTICE OF RELIANCE                                                     Jan 03, 2012
     Case 8:25-cv-01335        Document 1-1         Filed 06/20/25     Page 13 of 17 Page ID #:34


69          PLAINTIFF'S NOTICE OF RELIANCE                                     Dec 28, 2011
68          PLAINTIFF'S NOTICE OF RELIANCE                                     Dec 16, 2011
67          PLAINTIFF'S NOTICE OF RELIANCE                                     Dec 28, 2011
66          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
65          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
64          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
63          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
62          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
61          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
60          DEFENDANT'S NOTICE OF RELIANCE                                     Nov 07, 2011
59          TESTIMONY FOR DEFENDANT                                            Nov 18, 2011
58          TESTIMONY FOR DEFENDANT                                            Nov 18, 2011
57          P'S REBUTTAL PRETRIAL DISCLOSURES                                  Nov 17, 2011
56          D'S NOTICE OF DEPOSITIONS                                          Oct 21, 2011
55          D'S PRETRIAL DISCLOSURES                                           Sep 16, 2011
54          PLAINTIFF'S NOTICE OF RELIANCE                                     Sep 09, 2011
53          PLAINTIFF'S NOTICE OF RELIANCE                                     Sep 09, 2011
52          EXTENSION OF TIME GRANTED                                          Jun 17, 2011
51          P'S MOT FOR EXTEN. OF TIME W/ CONSENT                              Jun 17, 2011
50          EXTENSION OF TIME GRANTED                                          May 19, 2011
49          STIPULATION FOR AN EXTENSION OF TIME                               May 19, 2011
48          EXTENSION OF TIME GRANTED                                          Apr 11, 2011
47          STIPULATION FOR AN EXTENSION OF TIME                               Apr 11, 2011
46          EXTENSION OF TIME GRANTED                                          Mar 17, 2011
45          STIPULATION FOR AN EXTENSION OF TIME                               Mar 17, 2011
44          BOARD'S ORDER TRIAL DATES REMAIN AS PREVIOUSLY SET                 Feb 28, 2011
43          APPEARANCE                                                         Feb 25, 2011
42          EXTENSION OF TIME GRANTED                                          Feb 18, 2011
41          STIPULATION FOR AN EXTENSION OF TIME                               Feb 18, 2011
40          EXTENSION OF TIME GRANTED                                          Jan 19, 2011
39          STIPULATION FOR AN EXTENSION OF TIME                               Jan 19, 2011
38          EXTENSION OF TIME GRANTED                                          Oct 28, 2010
37          STIPULATION FOR AN EXTENSION OF TIME                               Oct 28, 2010
            D'S MOTION TO CONDUCT DEPO BY VIDEO CONFERENCE GRANTED/REMAINING Sep 20, 2010
36          TRIAL DATES RESET
35          P'S MOTION TO QUASH                                                Sep 09, 2010
34          P'S OPPOSITION/RESPONSE TO MOTION                                  Sep 07, 2010
33          D'S MOTION TO COMPEL DISCOVERY                                     Aug 27, 2010
32          EXTENSION OF TIME GRANTED                                          Jul 22, 2010
31          STIPULATION FOR AN EXTENSION OF TIME                               Jul 22, 2010
30          ANSWER                                                             Jul 22, 2010
29          RESPONSE DUE 30 DAYS (DUE DATE)                                    Jun 23, 2010   Jul 23, 2010
28          CHANGE OF CORRESPONDENCE ADDRESS                                   Feb 09, 2010
27          D'S OPPOSITION/RESPONSE TO MOTION                                  Jan 19, 2010
26          SUSPENDED PENDING DISP OF OUTSTNDNG MOT                            Jan 07, 2010
25          P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                      Jan 04, 2010
24          P'S MOTION TO AMEND PLEADING/AMENDED PLEADING                      Jan 04, 2010
23          PL'S MOT. FOR SUMM. JUDGMENT DENIED                                Dec 29, 2009
22          P'S REPLY IN SUPPORT OF MOTION                                     Oct 30, 2009
21          D'S OPPOSITION/RESPONSE TO MOTION                                  Oct 15, 2009
20          AMENDED ANSWER                                                     Sep 14, 2009
19          SUSPENDED                                                          Aug 17, 2009
18          D'S REPLY IN SUPPORT OF MOTION                                     May 26, 2009
17          P COMMUNICATION                                                    May 08, 2009
16          P'S OPPOSITION/RESPONSE TO MOTION                                  May 08, 2009
15          SUSPENDED PENDING DISP OF OUTSTNDNG MOT                            May 01, 2009
              Case 8:25-cv-01335                Document 1-1        Filed 06/20/25             Page 14 of 17 Page ID #:35


14                       D'S RESP2 O'S MSJ-56(F)                                                           Apr 24, 2009
13                       D'S MOTION TO COMPEL DISCOVERY                                                    Apr 24, 2009
12                       SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                           Apr 16, 2009
11                       P'S MOTION FOR AN EXTENSION OF TIME                                               Apr 13, 2009
10                       P'S MSJ AND M4LV2 AMEND NOO                                                       Apr 11, 2009
9                        Unsigned copy of #10                                                              Apr 11, 2009
8                        TRIAL DATES RESET                                                                 Dec 16, 2008
7                        D'S MOTION TO COMPEL DISCOVERY                                                    Dec 11, 2008
6                        EXTENSION OF TIME GRANTED                                                         Aug 06, 2008
5                        STIPULATION FOR AN EXTENSION OF TIME                                              Aug 06, 2008
4                        ANSWER                                                                            Jun 12, 2008
3                        PENDING, INSTITUTED                                                               May 05, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          May 05, 2008       Jun 14, 2008
1                        FILED AND FEE                                                                     May 05, 2008

                                                          Type of Proceeding: Opposition

             Proceeding 91183495                                               Filing Date: Apr 11, 2008
               Number:
                Status: Terminated                                            Status Date: Jul 07, 2008
            Interlocutory ANN LINNEHAN VOGLER
                Attorney:
                                                                    Defendant
                 Name: John Robinson Pratt
       Correspondent John Robinson Pratt
            Address: 501 Hahaione Street, Apt. 9H
                     Honolulu HI UNITED STATES , 96825-1447
     Correspondent e- pioneerdigitalmedia@hawaii.rr.com
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
PUNCH IN & OUT                                                                                             77224114
                                                                    Plaintiff(s)
                 Name: In-N-Out Burgers
       Correspondent Edward O. Ansell
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                     427 N. Yale Ave.Suite 204
                     Claremont CA UNITED STATES , 91711
     Correspondent e- anselaw@verizon.net
                mail:
Associated marks
                                                                                                                                Registration
     Mark                                                                           Application Status        Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                   75137201           2285823
IN-N-OUT                                                                                                   73133175           1085163
IN-N-OUT                                                                                                   73738305           1522799
IN-N-OUT                                                                                                   73738306           1525982
                                                                Prosecution History
     Entry Number           History Text                                                                      Date              Due Date
7                        TERMINATED                                                                        Jul 07, 2008
6                        BD'S DECISION: DISMISSED W/O PREJUDICE                                            Jul 07, 2008
5                        WITHDRAWAL OF OPPOSITION                                                          Jun 07, 2008
4                        P'S MOT TO SUSP PEND SETLMT NEGOTIATIONS                                          Apr 15, 2008
3                        PENDING, INSTITUTED                                                               Apr 11, 2008
2                        NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                          Apr 11, 2008       May 21, 2008
1                        FILED AND FEE                                                                     Apr 11, 2008
              Case 8:25-cv-01335                   Document 1-1        Filed 06/20/25              Page 15 of 17 Page ID #:36


                                                             Type of Proceeding: Opposition

             Proceeding 91165745                                                  Filing Date: Jul 04, 2005
               Number:
                Status: Terminated                                               Status Date: Jan 07, 2007
            Interlocutory ANDREW P BAXLEY
                Attorney:
                                                                       Defendant
                 Name: The Original Bono's, Inc.
       Correspondent Richard S. Vermut
            Address: Rogers Towers, P.A.
                     1301 Riverplace Blvd., Suite 1500
                     Jacksonville FL UNITED STATES , 32207
Associated marks
                                                                                                                                  Registration
     Mark                                                                              Application Status       Serial Number
                                                                                                                                  Number
PIG OUT OR PIG IN                                                                                             78411273
                                                                       Plaintiff(s)
                 Name: IN-N-OUT BURGERS
       Correspondent Edward O. Ansell
            Address: Law Office of Edward O. Ansell
                     427 N. Yale Ave., #204, POST OFFICE BOX 1163
                     Claremont CA UNITED STATES , 91711
     Correspondent e- anselaw@verizon.net
                mail:
Associated marks
                                                                                                                                  Registration
     Mark                                                                              Application Status       Serial Number
                                                                                                                                  Number
IN-N-OUT                                                                                                      73133175          1085163
                                                                   Prosecution History
     Entry Number            History Text                                                                       Date              Due Date
33                        TERMINATED                                                                          Jan 04, 2007
32                        BOARD'S DECISION: SUSTAINED                                                         Jan 04, 2007
31                        WITHDRAWAL OF APPLICATION                                                           Jan 04, 2007
30                        TRIAL DATES RESET                                                                   Jan 04, 2007
29                        P'S MOTION TO COMPEL DISCOVERY                                                      Dec 14, 2006
28                        Confidential - P's Mot to Compel                                                    Dec 14, 2006
                          BOARD'S ORDER OPPOSER'S MOTION FOR A PROTECTIVE ORDER EXTENDING
27                                                                                                            Oct 04, 2006
                          TIME TO RESPOND TO THE MOTION TO COM
26                        D'S OPPOSITION/RESPONSE TO MOTION                                                   Oct 03, 2006
                          DEFENDANT'S MOTION TO EXTEND DISCOVERY IS GRANTED TRIAL DATES ARE
25                        HEREBY RESET                                                                        Sep 21, 2006

24                        OPP'S PROTECTIVE ORDER                                                              Sep 18, 2006
23                        D'S MOTION TO COMPEL DISCOVERY                                                      Sep 08, 2006
22                        STIPULATION FOR AN EXTENSION OF TIME                                                Sep 08, 2006

21                        APPLICANT'S MOTION TO COMPEL AND EXTEND IS DENIED TRIAL DATES ARE                   Jun 13, 2006
                          RESET
20                        RESPONSE TO MOTION TO COMPEL                                                        Jun 10, 2006
19                        SUSPENDED                                                                           May 30, 2006
18                        D'S MOTION TO COMPEL DISCOVERY                                                      May 26, 2006
17                        PAPER RECEIVED AT TTAB                                                              May 15, 2006
16                        P'S RESPONSE TO BOARD ORDER/INQUIRY                                                 May 12, 2006
15                        PROC RESUMED, T.D. RESET                                                            Apr 16, 2006
14                        OPP'S REPLY TO APPL'S RESPONSE                                                      Mar 07, 2006
13                        D'S OPPOSITION/RESPONSE TO MOTION                                                   Feb 23, 2006
12                        SUSPENDED                                                                           Feb 17, 2006
11                        MOTION TO COMPEL                                                                    Feb 04, 2006
10                        PROCEED RESUMED; TRIAL DATE RESET                                                   Dec 02, 2005
9                         OTHER FILING                                                                        Oct 24, 2005
              Case 8:25-cv-01335                   Document 1-1       Filed 06/20/25           Page 16 of 17 Page ID #:37

8                          SUSPENDED PENDING DISP OF OUTSTNDNG MOT                                         Sep 21, 2005
7                          D'S OPPOSITION/RESPONSE TO MOTION                                               Sep 19, 2005
6                          MOTION TO AMEND ANSWER/AMENDED ANSWER OR COUNTERCLAIM                           Sep 19, 2005
                           MOTION TO STRIKE RESPONDENT D'S FIRST, THIRD AND FOURTH AFFIRMATIVE
5                          DEFENSES                                                            Aug 29, 2005

4                          ANSWER                                                                          Aug 11, 2005
3                          PENDING, INSTITUTED                                                             Jul 05, 2005
2                          NOTICE AND TRIAL DATES SENT; ANSWER DUE:                                        Jul 05, 2005       Aug 14, 2005
1                          FILED AND FEE                                                                   Jul 04, 2005

                                                        Type of Proceeding: Extension of Time

            Proceeding 78411273                                                Filing Date: Mar 18, 2005
              Number:
                Status: Terminated                                            Status Date: Mar 18, 2005
           Interlocutory
               Attorney:
                                                                     Defendant
                 Name: The Original Bono's, Inc.
      Correspondent Thomas C. Saitta
           Address: Rogers Towers, P.A.
                    1301 Riverplace Blvd. Suite 1500
                    Jacksonville FL UNITED STATES , 32207
Associated marks
                                                                                                                                Registration
    Mark                                                                            Application Status        Serial Number
                                                                                                                                Number
PIG OUT OR PIG IN                                                                                          78411273
                                                                 Potential Opposer(s)
                 Name: City Barbeque, Inc.
      Correspondent Melanie Martin-Jones
           Address: Porter Wright Morris & Arthur, LLP
                    41 S. High StreetSuite 2800
                    Columbus OH UNITED STATES , 43215
    Correspondent e- mmartin-jones@porterwright.com
               mail:
                 Name: IN-N-OUT BURGERS
      Correspondent Edward O. Ansell
           Address: Law Office of Edward O. Ansell
                    427 N. Yale Ave., #204P.O. Box 1163
                    Claremont CA UNITED STATES , 91711
    Correspondent e- anselaw@verizon.net
               mail:
Associated marks
                                                                                                                                Registration
    Mark                                                                            Application Status        Serial Number
                                                                                                                                Number
IN-N-OUT                                                                                                   73133175           1085163
                                                                 Prosecution History
    Entry Number             History Text                                                                     Date              Due Date
9                          TERMINATED                                                                      Jul 05, 2005
8                          EXTENSION OF TIME GRANTED                                                       May 06, 2005
7                          INCOMING - EXT TIME TO OPPOSE FILED                                             May 06, 2005
6                          EXTENSION OF TIME GRANTED                                                       May 05, 2005
5                          INCOMING - EXT TIME TO OPPOSE FILED                                             May 05, 2005
4                          EXTENSION OF TIME GRANTED                                                       Apr 07, 2005
3                          INCOMING - EXT TIME TO OPPOSE FILED                                             Apr 07, 2005
2                          EXTENSION OF TIME GRANTED                                                       Mar 18, 2005
1                          INCOMING - EXT TIME TO OPPOSE FILED                                             Mar 18, 2005
Case 8:25-cv-01335   Document 1-1   Filed 06/20/25   Page 17 of 17 Page ID #:38
